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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA,
      Plaintiff,

     v.                                        CRIMINAL ACTION NO.:
                                               1:20-CR-00466-AT-AJB
RICHARD TYLER HUNSINGER,
     Defendant.


               MOTION FOR REVIEW OF MAGISTRATE JUDGE'S
                          DETENTION ORDER

          COMES NOW RICHARD TYLER HUNSINGER through undersigned

counsel, hereby requests that this Court, pursuant to 18 U.S.C. § 3145(b), review

the Magistrate Court’s order of detention. Mr. Hunsinger asks that this Court

conduct a de novo hearing on the issue of detention, revoke the Magistrate Court’s

detention order, and set a bond in this case. In support thereof, Defendant shows as

follows:

                                      Background

1.        Mr. Hunsinger was arrested on November 5, 2020 on charges presented in a

          complaint. The complaint charged activity that had allegedly occurred more

          than three months prior, on July 25, 2020. Doc. 1.
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2.   The government moved for detention. Doc. 11. On November 10, 2020, Mr.

     Hunsinger appeared before United States Magistrate Judge Linda Walker for

     a detention hearing.

3.   Mr. Hunsinger called as a witness his father, Robert Hunsinger. Robert

     Hunsinger testified that both he and his wife, Richard’s mother, are veterans

     of the United States Air Force and retired from civilian positions with the

     Department of Defense. Robert Hunsinger spoke of his confidence that Mr.

     Hunsinger would comply with all directives of the Court. Robert Hunsinger

     bolstered his testimony of how confident he was that his son would comply

     that he pledged his own assets as surety. Robert Hunsinger is available to

     offer testimony before this Honorable Court.

4.   Toward the conclusion of the hearing, counsel for Mr. Hunsinger accurately

     represented that Mr. Hunsinger sought to live in Atlanta.

5.   Thereafter, the Court indicated that it was considering a bond with a

     condition that Mr. Hunsinger reside with his parents. However, the Court

     declined to permit Mr. Hunsinger to return to his own residence in Atlanta

     and ordered Mr. Hunsinger detained finding that he presents a threat to the

     community. Doc. 18, Part III.

6.   The Magistrate did not find Mr. Hunsinger to be a threat of flight.
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                                         Analysis


      Under 18 U.S.C. § 3145(b), “[i]f a person is ordered detained by a

magistrate judge . . . the person may file, with the court having original jurisdiction

over the offense, a motion for revocation or amendment of the order. The motion

shall be determined promptly.” The district court must then “undertake an

independent review of the case, enter its own findings in writing, and set forth the

reasons supporting its decision, making provisions as set forth in subsection [18

U.S.C. § 3142].” United States v. Hurtado, 779 F.2d 1467, 1480 (11th Cir. 1985).

      Mr. Hunsinger asserts that the government was unable to prove by the

established burden of “clear and convincing evidence” that Mr. Hunsinger poses a

threat to the community. To the contrary, he is an educated, employed person who

lived 28 years prior to his arrest with no criminal convictions. Further, during the

three months between the alleged incident and the arrest, he is accused of

committing no crimes. The Government’s allegations center around an accusation

involving minutes in a lifetime of over 28 years.

      The Government did not and cannot prove by clear and convincing evidence

that the alleged activities of one night1 demonstrate that there are not conditions

1
 For perspective, protests were arising all over the country after over three and one-half
years of the Government being led by Donald J. Trump, the killing of George Floyd and
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that will assure that Richard Hunsinger is not a threat to this community or the

community in Northern Virginia where his parents reside.2

        Additionally, Christmas is approaching and Covid-19 is increasing. Dr.

Fauci has recently predicted, “… as we go for the next couple weeks into

December is that we might see a surge superimposed on the surge we are already

in”.3

        Counsel will present evidence that Mr. Hunsinger legally possessed a gun.

Counsel was not aware of this at the detention hearing. When police searched Mr.

Hunsinger’s residence at the time of his arrest, they located his handgun and placed

a zip-tie to temporarily prevent use (until removed with a scissors, knife, or similar

object). However, they did not seize the weapon. The combination of over three

months to make an arrest and the conclusion that it was unnecessary to seize Mr.

Hunsinger’s gun demonstrate that the Government did not perceive him as a threat

to the community.




Breonna Taylor by police and Ahmaud Arbery by a retired police officer and his son.
2
  Richard is willing to reside wherever the court deems appropriate, in Atlanta or at his
parents’ residence in Virginia, and abide by whatever conditions the Court deems
reasonable.
3
  Ben Kamisar, Fauci warns Thanksgiving travel could worsen Covid-19 surge, NBC
News, Nov. 29, 2020, https://www.nbcnews.com/politics/meet-the-press/fauci-warns-
superimposed-coronavirus-surge-after-thanksgiving-travel-n1249270,      last    accessed
11/30/20.
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      As Mr. Hunsinger is accused of no crimes prior to July 25, 2020 and no

crimes during the three-plus months between the alleged incident and arrest, it

appears that the Court may fashion conditions that reasonably ensure that Mr.

Hunsinger will not pose a threat to the community.

      Mr. Hunsinger asks that this Honorable Court set conditions of pretrial

release.

      Dated: This 16th day of December, 2020.

                               Respectfully Submitted,

                               /s/ John Lovell
                               John Lovell
                               Attorney for Defendant
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               CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that the foregoing document was formatted in Times New

Roman 14 pt., in accordance with Local Rule 5.1C, and I have this day

electronically filed the document with the Clerk of the Court using the CM/ECF

system which will automatically send e-mail notification of such filing to the

attorney(s) of record in the case, including opposing counsel.

      Dated: This 16th day of December, 2020.

                                             s/John Lovell
                                             John Lovell

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